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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


ZAIA RASHO & ROSEMARY MORO,                      )
                                                 )
               Plaintiffs,                       )
                                                 )         No. 24 C 3336
       v.                                        )
                                                 )         Judge Sara L. Ellis
MEMBERSELECT INSURANCE                           )
COMPANY d/b/a AAA and a/k/a                      )
THE SUTO CLUB GROUP,                             )
                                                 )
               Defendant.                        )


                                   OPINION AND ORDER

       Plaintiffs Zaia Rasho and Rosemary Moro bring this suit against Defendant

MemberSelect Insurance Company (“MemberSelect”), alleging that MemberSelect breached its

insurance contract with Plaintiffs and committed improper claims practices in violation of 215

Ill. Comp. Stat. 5/155 (“Section 155”). The Court previously dismissed Plaintiffs’ Section 155

claim without prejudice, Doc. 20, after which Plaintiffs filed an amended complaint.

MemberSelect again moves to dismiss Plaintiffs’ Section 155 claim (Count II) pursuant to

Federal Rule of Civil Procedure 12(b)(6). Because Plaintiffs’ amended complaint does not state

a plausible Section 155 claim, the Court grants MemberSelect’s motion to dismiss [24] and

dismisses Plaintiffs’ Section 155 claim with prejudice.
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                                         BACKGROUND 1

        Plaintiffs purchased homeowners’ insurance from MemberSelect for their home in Indian

Creek, Illinois (the “Policy”). MemberSelect advertised that its homeowner insurance policies

“protect consumers’ homes against certain identified perils and events and that [MemberSelect]

would provide coverage to consumers in the event that their homes suffer[ed] damage caused by

such identified perils, such as damages caused by trees, shrubs, plants and lawns.” Doc. 22 ¶ 5.

Plaintiffs paid all premiums for the Policy in full and on time.

        On approximately April 5, 2023, wind and water infiltration “as a result of trees and/or

shrubs, plants and or lawn” damaged Plaintiffs’ property. Id. ¶ 9. Soon after the damage,

Plaintiffs reported a claim for property damage to MemberSelect under the Policy and

MemberSelect provided Plaintiffs with a claim number.

        On April 18, 2023, MemberSelect conducted an inspection of Plaintiffs’ property to

assess the damage. MemberSelect issued a denial letter to Plaintiffs on the same day, stating that

the wind damage loss was less than the Policy’s $2,500 deductible and that the Policy excluded

the water damage to Plaintiffs’ basement. Specifically, MemberSelect stated in its denial letter

to Plaintiffs that “the damage consists of water damage from an excluded source” and quoted a

portion of what appears to be the Policy, stating that:

                [MemberSelect] will not cover any loss which consists of or is
                caused by, one or more of the following excluded events, perils or
                conditions.

                ...

                3. Water damage, meaning:



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 The Court takes the facts from Plaintiffs’ amended complaint and the documents attached thereto, and
presumes them to be true for the purpose of resolving MemberSelect’s motion to dismiss. See Phillips v.
Prudential Ins. Co. of Am., 714 F.3d 1017, 1019–20 (7th Cir. 2013).
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                  a. flood, surface water, waves, storm surge, tidal water, tsunami,
                  seiche or overflow of a body of water from any source.

Doc. 22-1 at 1.

       Nearly a year later, on February 18, 2024, an adjuster affiliated with the Auto Club Group

conducted a forensic engineering investigation of Plaintiffs’ property on behalf of

MemberSelect. The adjuster drafted a report dated February 23, 2024, which concluded that a

sump pump failure, not a broken window, caused the water damage to Plaintiffs’ basement floor.

       On an unspecified date, Plaintiffs “had estimates and inspections conducted to assess the

damages that occurred on the property,” which “confirm[ed] that the damage was caused by the

April 5, 2023 event.” Doc. 22 ¶¶ 17, 29. MemberSelect ignored, failed to consider, and did not

provide Plaintiffs with the opportunity to submit their own evidence.

                                        LEGAL STANDARD

       A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint, not

its merits. Fed. R. Civ. P. 12(b)(6); Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir.

1990). In considering a Rule 12(b)(6) motion, the Court accepts as true all well-pleaded facts in

the plaintiff’s complaint and draws all reasonable inferences from those facts in the plaintiff’s

favor. Kubiak v. City of Chicago, 810 F.3d 476, 480–81 (7th Cir. 2016). To survive a Rule

12(b)(6) motion, the complaint must assert a facially plausible claim and provide fair notice to

the defendant of the claim’s basis. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007); Adams v. City of Indianapolis, 742 F.3d 720, 728–29 (7th

Cir. 2014). A claim is facially plausible “when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678.




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                                           ANALYSIS

       MemberSelect moves to dismiss Plaintiffs’ Section 155 claim, arguing that Plaintiffs’

amended complaint does not address the deficiencies noted previously by this Court and includes

facts that preclude a finding that MemberSelect engaged in vexatious and unreasonable behavior.

The Court agrees with MemberSelect that Plaintiffs have not alleged sufficient facts to state a

Section 155 claim.

       Section 155 provides “an extracontractual remedy to policyholders whose insurer’s

refusal to recognize liability and pay a claim under a policy is vexatious and unreasonable.”

Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1023 (7th Cir. 2013) (quoting Cramer v.

Ins. Exch. Agency, 174 Ill. 2d 513, 519 (1996)). In relevant part, Section 155 states:

               In any action by or against a company wherein there is in issue the
               liability of a company on a policy or policies of insurance or the
               amount of the loss payable thereunder, or for an unreasonable delay
               in settling a claim, and it appears to the court that such action or
               delay is vexatious and unreasonable, the court may allow as part of
               the taxable costs in the action reasonable attorney fees, other costs,
               plus [additional penalties].

215 Ill. Comp. Stat 5/155(1). A Section 155 claim is not available when “(1) there is a bona fide

dispute concerning the scope and application of insurance coverage; (2) the insurer asserts a

legitimate policy defense; (3) the claim presents a genuine legal or factual issue regarding

coverage; or (4) the insurer takes a reasonable legal position on an unsettled issue of law.” GCI

Consol., LLC v. Allied Prop. & Cas. Ins. Co., No. 23 C 3807, 2024 WL 3226578, at *2 (N.D. Ill.

June 28, 2024) (quoting Citizens First Nat’l Bank of Princeton v. Cincinnati Ins. Co., 200 F.3d

1102, 1110 (7th Cir. 2000)).

       This Court previously dismissed the Plaintiffs’ Section 155 claim because Plaintiffs did

not provide any facts regarding the processing of Plaintiffs’ claim, the results of MemberSelect’s



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inspection of Plaintiffs’ property, or communication between the parties. While the amended

complaint alleges additional facts regarding the processing of Plaintiffs’ claim and the reasons

for its denial that Plaintiffs did not include in the previous complaint, it still does not allege

sufficient facts to support a plausible claim that MemberSelect acted vexatiously or

unreasonably. Rather, Plaintiffs’ allegations in the amended complaint and the documents they

attached to the amended complaint show a bona fide dispute regarding coverage, which

forecloses their Section 155 claim.

        A complaint must allege facts that support an inference that an insurer’s conduct was

vexatious or unreasonable. See Leonard S. v. Health Care Serv. Corp., No. 22 C 6038, 2023 WL

7182988, at *3 (N.D. Ill. Nov. 1, 2023) (“The plaintiff ‘must instead point to facts showing that

the insurer’s behavior was vexatious and unreasonable—that is, willful and without reasonable

cause.’” (citation omitted)). If a bona fide dispute regarding coverage exists, “that is all Illinois

law requires to avoid the imposition of [S]ection 5/155 penalties.” Med. Protective Co. v. Kim,

507 F.3d 1076, 1087 (7th Cir. 2007). A bona fide dispute is a dispute that is “real, genuine, and

not feigned.” Id.; McGee v. State Farm Fire & Cas. Co., 315 Ill. App. 3d 673, 683 (same). A

bona fide dispute may exist in circumstances where an insurer has “a legitimate policy defense or

its denial of coverage [is] based on a policy’s express wording” or “where it reasonably relied on

evidence sufficient to create a bona fide dispute.” Wells v. State Farm Fire & Cas. Co., 2020 IL

App (1st) 190631, ¶ 32 (citations omitted).

        Here, Plaintiffs provide the first page of the denial letter they received from

MemberSelect, which quotes the Policy and states that the Policy does not cover Plaintiffs’

asserted damages. Plaintiffs also provided the forensic report dated February 18, 2024, which

attributes the water damage to a sump pump, not a window broken by a tree branch. Together,



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the denial letter and forensic report show that MemberSelect based its denial of Plaintiffs’ claim

on a legitimate Policy defense, the Policy’s wording, and evidence, such that a bona fide

coverage dispute exists. The dispute is real, actual, and genuine because Plaintiffs argue that the

April 5, 2023, storm caused their damages, while the forensic report supports that the broken

sump pump caused the water damage to Plaintiffs’ basement, not the storm. Plaintiffs’ inclusion

of evidence showing a bona fide dispute regarding coverage forecloses their Section 155 claim,

notwithstanding Plaintiffs’ allegations that MemberSelect acted vexatiously and unreasonably in

its denial. See Baker v. Nw. Med. Lake Forest Hosp., No. 16-CV-05669, 2017 WL 2908766, at

*4 (N.D. Ill. July 7, 2017) (“A document outside the pleadings controls when it is incorporated

by reference or attachment and directly contradicts the assertions in the complaint.” (citation

omitted)). Further, while typically the existence of a bona fide dispute is a better question for

resolution at the summary judgment stage, the Court can resolve the issue at the motion to

dismiss stage here because the existence of a bona fide dispute appears in the pleadings. See

Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Lovekamp, No. 23 C 13103, 2025 WL 473982, at

*5 (N.D. Ill. Feb. 12, 2025) (finding that the complaint revealed a bona fide dispute concerning

coverage). Because evidence of a bona fide dispute exists, Plaintiffs cannot succeed on their

Section 155 claim. See, e.g., Sandy Point Dental, PC v. Cincinnati Ins. Co., 488 F. Supp. 3d 690,

695 (N.D. Ill. 2020) (“Section 5/155 claims may be dismissed at the pleadings stage when a

plaintiff fails to state a sufficient factual basis for sanctions, or when a bona fide dispute

regarding coverage is apparent from the face of the complaint.”); Remprex, LLC v. Certain

Underwriters at Lloyd’s London, 2023 IL App (1st) 211097, ¶ 90 (dismissing a Section 155

claim because an insurer based its denial of coverage on a bona fide dispute); Wells, 2020 IL




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App (1st) 190631, ¶¶ 32–47 (affirming the dismissal of a Section 155 claim where the pleadings

unambiguously showed that a bona fide disputed existed as to coverage).

       Because the existence of a bona fide dispute precludes Plaintiffs’ Section 155 claim, the

Court grants MemberSelect’s motion to dismiss and dismisses the Section 155 claim with

prejudice. See Nat’l Union Fire Ins. Co., 2025 WL 473982, at *5 (denying leave to amend as

futile where the pleadings showed that the Section 155 claim was foreclosed by the existence of

a bona fide coverage dispute).

                                        CONCLUSION

       For the foregoing reasons, the Court grants MemberSelect’s motion to dismiss [24]. The

Court dismisses Plaintiffs’ Section 155 claim (Count II) with prejudice.




Dated: July 18, 2025                                        ______________________
                                                            SARA L. ELLIS
                                                            United States District Judge




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